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       CENTER FOR DISABILITY ACCESS
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8
                               UNITED STATES DISTRICT COURT
9
                              NORTHERN DISTRICT OF CALIFORNIA
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11
         Samuel Love,                            Case No.
12
                 Plaintiff,
13
           v.                                    Complaint For Damages And
                                                 Injunctive Relief For
14
         Amba L.L.C., a California Limited       Violations Of: Americans With
         Liability Company;                      Disabilities Act; Unruh Civil
15                                               Rights Act
16              Defendants,
17
18
19
20         Plaintiff Samuel Love complains of Amba L.L.C., a California Limited
21   Liability Company (“Defendants”), and alleges as follows:
22
23     PARTIES:
24     1. Plaintiff is a California resident with physical disabilities. He is
25   substantially limited in his ability to walk. He is a paraplegic. He uses a
26   wheelchair for mobility.
27     2. Defendant Amba L.L.C., a California Limited Liability Company owns
28   and operates the Fontaine Inn San Jose located at 2460 Fontaine Rd., San Jose,


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1    California currently and at all times relevant to this complaint.
2      3. Plaintiff does not know the true names of Defendants, their business
3    capacities, their ownership connection to the property and business, or their
4    relative responsibilities in causing the access violations herein complained of,
5    and alleges a joint venture and common enterprise by all such Defendants.
6    Plaintiff is informed and believes that each of the Defendants herein, is
7    responsible in some capacity for the events herein alleged, or is a necessary
8    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
9    the true names, capacities, connections, and responsibilities of other
10   Defendants are ascertained.
11
12     JURISDICTION:
13     4. The Court has subject matter jurisdiction over the action pursuant to 28
14   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
15   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
16     5. Pursuant to supplemental jurisdiction, an attendant and related cause
17   of action, arising from the same nucleus of operative facts and arising out of
18   the same transactions, is also brought under California’s Unruh Civil Rights
19   Act, which act expressly incorporates the Americans with Disabilities Act.
20     6. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
21   founded on the fact that the real property which is the subject of this action is
22   located in this district and that Plaintiff's cause of action arose in this district.
23
24   PRELIMINARY STATEMENT
25     7. This is a lawsuit challenging the reservation policies and practices of a
26   place of lodging. Plaintiff does not know if any physical or architectural
27   barriers exist at the hotel and, therefore, is not claiming that that the hotel has
28   violated any construction-related accessibility standard. Instead, this is about


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1    the lack of information provided on the hotel’s reservation website that would
2    permit plaintiff to determine if there are rooms that would work for him.
3      8. After decades of research and findings, Congress found that there was
4    a “serious and pervasive social problem” in America: the “discriminatory
5    effects” of communication barriers to persons with disability. The data was
6    clear and embarrassing. Persons with disabilities were unable to “fully
7    participate in all aspects of society,” occupying “an inferior status in our
8    society,” often for no other reason than businesses, including hotels and
9    motels, failed to provide information to disabled travelers. Thus, Congress
10   decided “to invoke the sweep of congressional authority” and issue a “national
11   mandate for the elimination of discrimination against individuals with
12   disabilities,” and to finally ensure that persons with disabilities have “equality
13   of opportunity, full participation, independent living” and self-sufficiency.
14     9. As part of that effort, Congress passed detailed and comprehensive
15   regulations about the design of hotels and motels. But, as importantly,
16   Congress recognized that the physical accessibility of a hotel or motel means
17   little if the 61 million adults living in America with disabilities are unable to
18   determine which hotels/motels are accessible and to reserve them. Thus,
19   there is a legal mandate to provide a certain level of information to disabled
20   travelers.
21     10. But despite the rules and regulations regarding reservation procedures,
22   a 2019 industry article noted that: “the hospitality sector has largely
23   overlooked the importance of promoting accessible features to travelers.”
24     11. These issues are of paramount important. Persons with severe
25   disabilities have modified their own residences to accommodate their unique
26   needs and to ameliorate their physical limitations. But persons with disabilities
27   are never more vulnerable than when leaving their own residences and having
28   to travel and stay at unknown places of lodging. They must be able to ascertain


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1    whether those places work for them.
2
3      FACTUAL ALLEGATIONS:
4      12. Plaintiff planned on making a trip in March of 2021 to the San Jose,
5    California, area.
6      13. He chose the Fontaine Inn San Jose located at 2460 Fontaine Rd., San
7    Jose, California because this hotel was at a desirable price and location.
8      14. Plaintiff needs an accessible guestroom. He needs clearance around
9    beds, he needs accessible restroom facilities including accessible sinks,
10   accessible tubs or showers and accessible toilets. He needs sufficient
11   maneuvering clearance in and around the guestroom. He needs accessories to
12   be located within an accessible reach range. In short, he benefits from and
13   needs compliant accessible guestroom features.
14     15. While sitting bodily in California, Plaintiff went to the Fontaine Inn San
15   Jose reservation website at https://www.fontaineinn.com/ seeking to book an
16   accessible room at the location on October 21, 2020.
17     16. Plaintiff found that there was little information about the accessibility
18   of the rooms. For example, under the “ADA/Accessible Features” tab, it
19   mentions features such as: “Accessible Guest Rooms with 32 Inch Wide
20   Openings”, “Accessible Registration Check-in Counter”, “ADA Accessible
21   Guest Room”, “On-Site Designated Accessible Parking”, “Registration Desk is
22   Accessible”, “Wheelchair Accessible”, and “Wheelchair Ramp”. These are
23   vague and conclusory statements. Likewise, under the “Double Queen Room
24   - Accessible” room description it merely states: “The Double Queen Disabled
25   Accessible Room at Fontaine Inn is wheelchair accessible and has a private
26   bathroom with full bath with grab bars.” It further states under the
27   “ADA/Accessible Bathroom Features” tab: “Grab Bars at Tub with a Tub
28   Seat”, “Hand-held Shower Wand”, “Lowered Towel Hooks and Racks”, and


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1    “Toilet Grab Bars”. These vague and conclusory statements offer little detail.
2    For example, there is no specific information on whether the desk/table in the
3    room is accessible, or if the sink and toilet are accessible, or if the common
4    areas are accessible.
5      17. The defendant’s reservation system failed to identify and describe the
6    accessible features in the guestroom chosen by the plaintiff in enough detail to
7    reasonably permit him to assess independently whether the particular
8    guestroom met his accessibility needs.
9      18. This lack of information created difficulty for the plaintiff and the idea
10   of trying to book this room -- essentially ignorant about its accessibility --
11   caused discomfort for the Plaintiff.
12     19. Plaintiff would like to patronize this hotel but is deterred from doing so
13   because of the lack of detailed information through the hotel’s reservation
14   system. Plaintiff not only travels frequently but is always on the lookout for
15   businesses that violate the law and discriminate against him and other persons
16   with disabilities, intending to have them comply with the law and pay statutory
17   penalties.
18
19   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
20   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
21   Defendants.) (42 U.S.C. section 12101, et seq.)
22     20. Plaintiff re-pleads and incorporates by reference, as if fully set forth
23   again herein, the allegations contained in all prior paragraphs of this
24   complaint.
25     21. Under the ADA, it is an act of discrimination to fail to make reasonable
26   modifications in policies, practices, or procedures when such modifications
27   are necessary to afford goods, services, facilities, privileges advantages or
28   accommodations to person with disabilities unless the entity can demonstrate


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1    that taking such steps would fundamentally alter the nature of the those goods,
2    services, facilities, privileges advantages or accommodations. See 42 U.S.C. §
3    12182(B)(2)(A)(ii).
4      22. Specifically, with respect to reservations by places of lodging, a
5    defendant must ensure that its reservation system, including reservations
6    made by “any means,” including by third parties, shall:
7                    a. Ensure that individuals with disabilities can make
8                          reservations for accessible guest rooms during the same
9                          hours and in the same manner as individuals who do not
10                         need accessible rooms;
11                   b. Identify and describe accessible features in the hotels and
12                         guest rooms offered through its reservations service in
13                         enough detail to reasonably permit individuals with
14                         disabilities to assess independently whether a given hotel
15                         or guest room meets his or her accessibility needs; and
16                   c. Reserve, upon request, accessible guest rooms or specific
17                         types of guest rooms and ensure that the guest rooms
18                         requested are blocked and removed from all reservations
19                         systems.
20             See 28 C.F.R. § 36.302(e).
21     23. Here, the defendant failed to modify its reservation policies and
22   procedures to ensure that it identified and described accessible features in the
23   hotels and guest rooms in enough detail to reasonably permit individuals with
24   disabilities to assess independently whether a given hotel or guest room meets
25   his or her accessibility needs and failed to ensure that individuals with
26   disabilities can make reservations for accessible guest rooms during the same
27   hours and in the same manner as individuals who do not need accessible
28   rooms.


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     Complaint
1    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
2    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
3    Code § 51-53.)
4      24. Plaintiff repleads and incorporates by reference, as if fully set forth
5    again herein, the allegations contained in all prior paragraphs of this
6    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
7    that persons with disabilities are entitled to full and equal accommodations,
8    advantages, facilities, privileges, or services in all business establishment of
9    every kind whatsoever within the jurisdiction of the State of California. Cal.
10   Civ. Code §51(b).
11     25. The Unruh Act provides that a violation of the ADA is a violation of the
12   Unruh Act. Cal. Civ. Code, § 51(f).
13     26. Defendants’ acts and omissions, as herein alleged, have violated the
14   Unruh Act by, inter alia, failing to comply with the ADA with respect to its
15   reservation policies and practices.
16     27. Because the violation of the Unruh Civil Rights Act resulted in difficulty
17   and discomfort for the plaintiff, the defendants are also each responsible for
18   statutory damages, i.e., a civil penalty. See Civ. Code § 52(a).
19
20   PRAYER:
21          Wherefore, Plaintiff prays that this Court award damages and provide
22   relief as follows:
23       1. For injunctive relief, compelling Defendants to comply with the
24   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
25   plaintiff is not invoking section 55 of the California Civil Code and is not
26   seeking injunctive relief under the Disabled Persons Act at all.
27       2. Damages under the Unruh Civil Rights Act, which provides for actual
28   damages and a statutory minimum of $4,000 for each offense.


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     Complaint
1       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
2    to 42 U.S.C. § 12205; and Cal. Civ. Code § 52(a).
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4    Dated: December 8, 2020                CENTER FOR DISABILTY ACCESS
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7
8                                          By:
9                                          Russell Handy, Esq.
                                           Attorneys for Plaintiff
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